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(Crue 8 (%— Pp- 2627-ES))
To the honorable Judge,

My name is Vinod Malhotra. The address is 17 Fountain street in Hicksville. NY 11801. |
bought three [phones on December 21, 2017. | am eligible to claim however when | try to put in
my device number in the class section of the link it claims to say that the number does not
match with our records. For the first device which is an Iphone 6 the serial number is
CBKR291VGRY6. For the second device which is an Iphone 6 the IMEI number is
356694089424-550. For the third device which is a Iphone 7 the IMEI number is
35206606 1327165. | am requesting you guys to add me in the class section because | am
enabled to claim online. My contact information is vinodm2008@ yahoo.com.

Sincerely,
Vinod Malhotra

 

JUL 28 2028

SUSAN Y. SOONG
CLERK, U.S. DISTRICT CQUAT
NORTH DISTRICT OF CALIFORNIA
 
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